
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 1051-03






RAFAEL SANCHEZ, Appellant



v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH COURT OF APPEALS


DALLAS COUNTY





		Price, J., filed a dissenting opinion.


O P I N I O N 





	Code of Criminal Procedure Article 45.019(f) says that a defendant must object to
any defects in a charging instrument filed in a justice or municipal court "before the date on
which the trial on the merits commences."  I understand the majority to say that, when
Article 45.019(f) is read according to its plain meaning, the language quoted above refers
to the date on which the trial actually begins.  I also understand the majority to conclude
that this does not produce an absurd result.  

	I cannot agree with the majority's second conclusion.  As a result, I respectfully
dissent.

	The majority's construction of Article 45.019(f) will render the subsection
meaningless if a trial court sustains the objection and quashes the charging instrument. (1)  If
the objection is sustained and thus, the trial does not commence, then it will not matter on
what date the objection was raised.  Thus, the Article's time bar is meaningless in that
situation.  I can think of no other instance in criminal law where a ruling on the merits can
render an objection timely or not.

	It is odd to assume that a trial will not commence on the date it is set for trial. 
Although trials are often reset, parties generally show up on the date trial is set prepared to
begin.  

	I want to add a word of caution to criminal defendants.  If a defendant files an
objection to the charging instrument on the date that the trial is set, he will be not be
allowed to appeal a trial court's overruling of the objection if the trial actually begins on
that date.

	Because the majority's construction of Article 45.019 produces absurd results, I
respectfully dissent.

Filed:  June 30, 2004.

Publish.

1. I assume it would be the same for Article 1.14, which deals with objections to charging
instruments in district or county courts, because the language is identical.

